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 16

 17                  IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
      CARL ZEISS AG and ASML
 19                                               Case No. 2:17-cv-07083-RGK (MRWx)
      NETHERLANDS B.V.,
 20                                               PLAINTIFFS’ REPLY IN SUPPORT
                   Plaintiffs,
 21                                               OF MOTION FOR SUMMARY
      v.
                                                  ADJUDICATION
 22
    NIKON CORPORATION, SENDAI
 23                                               Date:        September 24, 2018
    NIKON CORPORATION, and
                                                  Time:        9:00 a.m.
 24
    NIKON INC.,
                                                  Judge:       Hon. R. Gary Klausner
            Defendants.
 25
                                                  Courtroom:   850, 8th Floor

 26

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                     PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY ADJUDICATION
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  1      PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION OF
      OWNERSHIP
  2
             Faced with Plaintiffs’ well-pled motion for summary judgment of ownership,
  3
      Defendants bore the burden in their opposition to “identify specific facts … that
  4
      demonstrate that there is a genuine issue for trial.” Celotex Corp. v. Catrett, 477 U.S. 317,
  5
      324 (1986); Intel v. Hartford Accident & Indem. Co., 952 F.2d 1551, 1558 (9th Cir. 1991)
  6
      (nonmovant must present “significant probative evidence”). Conclusory allegations do not
  7
      establish a genuine dispute. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990).
  8
             Defendants failed to identify any factual dispute. At most, Defendants suggest that
  9
      there might be problems with the chain of title for the asserted patents, but they presented
 10
      no specific evidence of a genuine issue of material fact. (See Opp. at 3.) For example,
 11
      Defendants note that the patents had multiple previous owners and were the subject of
 12
      multiple agreements (id.), but fail to even identify—let alone support with evidence—any
 13
      defect in any patent’s chain of title (see id.). Defendants further suggest that
 14
      communications between Plaintiffs and HP may support “a title problem” (id.), but do
 15
      not even attempt to explain the supposed problem, or how the communications with HP
 16
      would support such a dispute1 (see id.).
 17
             Nor do Defendants allege any dispute or insufficiency in the evidence Plaintiffs
 18
      adduced in support of summary judgment. (See id.) Indeed, they admit that Plaintiffs
 19
      perfected ownership of the asserted patents “[i]n exactly the same way as in the 3221 case”
 20
      (id. at 2)—where Defendants offered no evidence or argument to refute Plaintiffs’ showing
 21
      of ownership through the HP transaction, and did not cross-examine a single witness on
 22
      ownership at trial. Plaintiffs’ motion included all the ownership evidence presented in the
 23
      3221 case and more; Defendants have not presented any specific facts or evidence that
 24
      demonstrates a “genuine issue” for trial.2 Celotex, 477 U.S. at 322-23.
 25
             PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION OF
 26

 27
      1
        Defendants cite a string of emails between Plaintiffs’ counsel and HP, but those emails
      discuss only one U.S. Patent (U.S. Patent No. 6,972,792) which is not asserted in this case.
 28   2
        Defendants’ brief makes clear that, rather than truly contest ownership, they seek to use
      it to inject extraneous themes into the trial, as they did in the 3221 case. (E.g., Opp. at 3
      (alleging Plaintiffs made an “effort to intentionally hide their acquisition from Nikon.”).)
                                                    1
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  1   NO MARKING FOR THE ’312, ’017, AND ’574 PATENTS (“KWON
      PATENTS”) AND THE ’335 PATENT
  2
             Defendants essentially concede that Plaintiffs are entitled to summary judgment of
  3
      no marking for the Kwon and ’335 patents. They acknowledge (1) that “there is no
  4
      marking requirement” for the ’335 patent “because it only contains method claims” and
  5
      (2) that they have not identified any products that they contend should have been marked
  6
      with the Kwon patent numbers. (See Opp. at 3.) The stipulation they offered is irrelevant
  7
      here and anyway insufficient. It did not cover the ’335 patent, and for the others, was
  8
      conditioned on Plaintiffs’ stipulating to dismiss Sendai Nikon Corp. (See D.I. 166-2.)3
  9
      Plaintiffs are entitled to summary judgment on this issue.
 10
            PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION
 11   THAT THE KAIFU AND YUKI REFERENCES DO NOT ANTICIPATE THE
 12   ’312 AND ’017 PATENTS

 13          Plaintiffs presented constructions and showed that Kaifu and Yuki do not disclose

 14   those limitations, properly construed. (Br. at 3-8.) Defendants offer neither constructions,

 15   nor any evidence, that Kaifu and Yuki disclose the limitations under any construction. The

 16   Court should adopt Plaintiffs’ constructions and grant this motion.

 17                 Plaintiffs’ Proposed Claim Constructions Are Correct
             The claims should be construed to require that the shared sensing nodes receive
 18
      charges from the photodiode(s) of the currently scanned pixel, and not from the
 19
      photodiode(s) of the pixel with which the sensing nodes are shared. As explained (Br. at
 20
      5-6), this facilitates an increase in the storage capacitance of the sensing node accessible
 21
      by the currently scanned pixel—a central idea of the inventions.
 22
             Defendants offer no concrete argument in response, but baldly assert (id. at 7),
 23
      without citation, that this requirement “is not supported by the claim language.”
 24
      Defendants do not even attempt to address Plaintiffs’ explanation that the claim should
 25
      be so construed in light of the specification. (Id. at 6.)
 26
             Defendants only other assertion (Opp. at 5) is that Plaintiffs have been inconsistent
 27

 28
      3
        The proposed stipulation attached to that email, which Defendants did not submit,
      included the proposed stipulation regarding Sendai Nikon. Mukherji Decl., Ex. 40.
                                                 2
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  1   in the constructions they have offered. Not so. Defendants cherry-pick language from a
  2   brief in the 3221 case that addressed whether the sensing node will be shared, not how it will
  3   be shared—which is the subject of the present dispute. (See 3221 case, D.I. 181 at 17.) Dr.
  4   Subramanian also did not offer a contrary construction, as Defendants allege, but explicitly
  5   endorsed Plaintiffs’ proposed construction (See D.I. 150-38 at ¶ 87).4
  6                 Defendants Present No Evidence That Kaifu or Yuki Anticipate
  7          If Plaintiffs’ construction is adopted, summary judgment should be granted because
  8   Defendants present no argument that Kaifu and Yuki disclose the selectively shared
  9   sensing nodes feature. (See Opp. at 6-7.) For instance, they do not identify where either
 10   reference allegedly teaches sensing nodes that are selectively shared or coupled. (Id.)5
 11          Instead, Defendants try to manufacture a dispute by pointing to an alleged (but not
 12   actual) inconsistency in Plaintiffs’ expert’s opinion, and stating without support that
 13   Plaintiffs and their expert “do not deny” that the references have the feature at issue. (Id.)
 14   Such conclusory statements are insufficient to establish a genuine dispute. MEMC Elec.
 15   Materials v. Mitsubishi Materials Silicon, 420 F.3d 1369, 1373 (Fed. Cir. 2005) (nonmovant
 16   must present “specific evidence indicating there is a genuine issue for trial”). There is also
 17   no inconsistency. While it is true that the sensing nodes of Kaifu and Yuki receive charges
 18   from more than one pixel (see Br. at 7-8), neither discloses what is claimed: that the shared
 19   nodes receive charges from only one of the pixels that share the node at a time (thus
 20   increasing the capacitance available to a single pixel).
 21       PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION FOR
      THE WRITTEN DESCRIPTION DEFENSE FOR THE KWON PATENTS
 22
             As an initial matter, Defendants’ argument is limited to the term “selectively
 23
      shared,” which appears only in claim 1 of the ’312 patent. They do not argue that
 24
      “selectively couplable” and “selectively electrically coupling” lack written description and
 25

 26

 27
      4
        Dr. Subramanian’s doctrine of equivalents analysis is neither inconsistent nor relevant to
      the current dispute, as the doctrine by design extends the claims beyond the literal scope
 28   of a claim limitation.
      5
        Indeed, on this issue, Defendants give not citations to either reference (except by
      reproducing a figure from each without explanation) or to their expert. (Opp. at 6-7.)
                                                  3
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  1   do not address the ’017 or ’574 patents. Summary adjudication is thus warranted for all
  2   claims of the ’017 and ’574 patents and claims 7-9 and 11-16 of the ’312 patent.
  3          Summary adjudication is also warranted for claim 1 of the ’312 patent. The term at
  4   issue is “selectively shared ... in response to a line select signal of the current scan line.”
  5   Figure 4 shows this: Sensing node SN2 is selectively shared with sensing node SN1 in
  6   response to signal Sx2 so that signal Sx2 selects whether SN2 and SN1 are shared. (Br. at 9.)
  7          The ’312 patent supports the term even if it were construed to require selectivity
  8   during a reading operation, as Defendants seem to suggest. See Mukherji Decl., Ex. 41 at
  9   ¶¶ 81, 94; Opp. at 8. A skilled artisan would have recognized that Mr. Kwon had
 10   possession of the “selectively sharing” operation. See id., Ex. 42 at ¶¶ 196-98. The patent
 11   discloses that “since the CMOS image sensor of the present invention shares the sensing
 12   node of the nearest-neighboring unit pixel of a non-selected line when the specific unit
 13   pixel of a selected line is operating, it is possible to receive much more photocharges
 14   generated due to the enhanced fill-factor.” (’312, 5:21-26; see id., Ex. 41 at ¶ 69 (recognizing
 15   that the invention “is to increase capacitance of a sensing node”).) Figure 4 also shows
 16   that Mr. Kwon possessed and expressly described transistors controlled by their own
 17   separate control signals. (See, e.g, ’312, 4:25-34.) CMOS image sensor technology is a
 18   predictable art, and one skilled in it could understand and predict the operation of
 19   controlling two separate transistors with separate and independent signals. Mukherji Decl.,
 20   Ex. 42 at ¶¶ 190, 860, 864-67. Defendants provide no evidence to the contrary.
 21       PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION
      THAT CLAIM ELEMENTS 1(C)-1(F) OF THE ’335 PATENT ARE SATISFIED
 22
             Defendants do not dispute that the Accused Cameras practice steps 1(c)-1(f) under
 23
      Plaintiffs’ construction of “turning on/off.” (Opp. at 14-16.) Because the specification
 24
      mandates this construction, it should be adopted and this motion should be granted.
 25
                    Plaintiffs’ Construction of “Turning on/off” Should Be Adopted and
 26
                    the Motion for Summary Judgment Should Be Granted.
 27          The parties dispute whether “turning on” and “turning off” just require ensuring
 28   that transistors are on or off (Plaintiffs) or also require an affirmative transition into those

                                        4
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  1   states (Defendants).6 Defendants’ argument fails because they analyze the term in the
  2   abstract, rather than in light of the specification. That is legal error. “[T]he specification is
  3   always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the
  4   single best guide to the meaning of a disputed term.” Phillips v. AWH Corp., 415 F.3d 1303,
  5   1315 (Fed. Cir. 2005) (en banc). Here, the specification mandates Plaintiffs’ construction.
  6          Even in the abstract, to “turn” something on/off can cover cases with and without
  7   a transition. To use Defendants’ example—where “one were to walk into a room with the
  8   light already on” (Opp. at 10)—that light can be said to be “turned” on. For example: “I
  9   walked into the room and saw that the light was turned on.” The specification uses these
 10   terms to include both the act of turning on/off, and the state of being turned on/off. This
 11   is “dispositive” because courts “do not construe claim language to be inconsistent with
 12   the clear language of the specification.” ERBE v. ITC, 566 F.3d 1028, 1034 (Fed. Cir.
 13   2009). This is true even if the specification uses the term in a way other than its ordinary
 14   sense. In Honeywell v. Universal Avionics, 493 F.3d 1358, 1361-64 (Fed. Cir. 2007), the Federal
 15   Circuit construed a term “in a manner different from its ordinary meaning” because “[t]he
 16   specification … clearly communicates the meaning the patentees have assigned to the
 17   term” and “[t]o hold otherwise would not include within the scope of the claim a preferred
 18   embodiment.” Likewise in Chimie v. PPG Indus., Inc., 402 F.3d 1371, 1377 (Fed. Cir. 2005),
 19   it held that “‘dust-free[]’ could not be read literally … [b]ecause a literal construction …
 20   would not read on the preferred embodiment ….” The same is true here.
 21          First, the specification expressly uses “turn on/off” (and variants thereof) where the
 22   system ensures that a transistor is on or off, without transitioning it to that state. It says
 23   that “[i]n section ‘A1’” of FIG. 5 (annotated excerpt below), “the reset transistor [is] turned
 24   on and the select transistor [] is turned off.” (’335, 5:29-31.) As the figure shows, neither
 25   transistor transitions from off to on or vice versa during A1. Rather, the system simply
 26

 27

 28   6
       Defendants assert that they have revised their proposed construction to “plain meaning,”
      but they assert that this requires affirmatively transitioning between states. (Opp. at 10.)

                                        5
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 1   ensures that both are in the recited state, which they were in
 2   before.7 Defendants’ construction would contradict how the
 3   specification uses the term.
 4          Second, Defendants err by excluding the disclosed
 5   embodiment. “[A]n interpretation which excludes a disclosed
 6   embodiment from the scope of the claim is rarely, if ever,
 7   correct,” Broadcom v. Emulex, 732 F.3d 1325, 1333 (Fed. Cir.
 8   2013), and one that “excludes all disclosed embodiments …
 9   is especially disfavored.” Kaneka v. Xiamen Kingdomway Group.,
10   790 F.3d 1298, 1304 (Fed. Cir. 2015). Here, Defendants do not dispute that—as we have
11   shown (Br. at 12-13)—their construction excludes the FIG. 5 embodiment (Opp. at 11).
12   This is the only disclosed embodiment of the claimed method (see next section).
13                 Defendants’ Counterarguments Are Meritless.
14          Defendants’ counterarguments are meritless. Their assertion that FIG. 5 can be
15   excluded because it allegedly is not the only embodiment fails. (Opp. at 11-12.) First, it
16   misstates the law. Embodiments cannot be excluded just because other embodiments
17   exist. For instance, in In re Katz Interactive Call Processing Patent Litig., 639 F.3d 1303, 1324
18   (Fed. Cir. 2011), the court held it was error to limit a term because “[w]hile [one]
19   embodiment … requires [the limitation] … another embodiment does not … [and] there
20   is a strong presumption against a claim construction that excludes a disclosed
21   embodiment.” See Adv. Fiber Techs. Trust v. J & L Fiber Servs., 674 F.3d 1365, 1375 (Fed.
22   Cir. 2012) (Even when “an embodiment is disclosed in a single sentence … [a] disclosed
23   embodiment is a disclosed embodiment” and cannot be disregarded).
24          Second, FIG. 5 is the only embodiment of the claimed method. Defendants’ other
25   alleged “embodiment”—’335, 3:64-4:37—is merely a verbatim repetition of claim 18 from
26

27   7
       The specification relatedly uses “turn on/off” this way referring to multiple Figures. (E.g.,
28   ’335, 2:17-20 (re: FIG. 3, reset and select transistors); 5:42-47 (FIG. 5, same)).
     8
        Specifically, it repeats verbatim the claim as originally filed. The few changes in
     prosecution do not matter here. Mukherji Decl., Ex. 43 (comparison with claim).
                                                   6
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 1   the “Summary of the Invention” section. Embodiments are examples that disclose the “the
 2   reasonable practice of the [claimed] method,” Smith & Nephew, Inc. v. Ethicon, Inc., 276 F.3d
 3   1304, 1309-10 (Fed. Cir. 2001). That is why it is wrong to construe the claims to exclude
 4   them. Id. Repeating claim language does not explain it, and certainly does not justify
 5   ignoring the patent’s actual example of the invention.9
 6            Defendants’ other arguments are quickly answered. The patent’s use of “turn
 7   on/off” in some places and “keep on/off” in others (Opp. at 11) supports Plaintiffs,
 8   because the patent uses both terms to cover no-transition periods, and thus rejects the
 9   distinction Defendants seek to make between them (transition versus no-transition).10
10                 “In section ‘A1’, the reset transistor [is] turned on …”
         “Turn on”
11
                   (5:29-30)
                   “In section ‘C1’, the reset transistor … keep[s] on a
12       “Keep on” turn-on state” (5:53-58)

13
              Plaintiffs’ construction also does not render any part of element 1(f) redundant.11
14
     (Opp. at 10.)12 Element 1(f) undisputedly refers to a time interval. To satisfy its “turning
15
     off the reset transistor” and “turning on the second transfer transistor” language, the
16
     system must ensure that these transistors are respectively off and on during at least part
17
     of that interval. (Neither side has argued that they must be on/off throughout.) So the
18
     additional language “with said reset transistor remaining off’” an additional requirement
19
     that these transistors are in their recited states at the same time. It is not redundant.13
20

21   9
        Intamin Ltd. v. Magnetar Techs., Corp., 483 F.3d 1328 (Fed. Cir. 2007), which Defendants
     cite (Opp. at 11) is not applicable. Intamin holds that “[a] patentee may draft different
22   claims to cover different embodiments.” 483 F.3d at 1337. In other words, if a patent has
23
     multiple claims and multiple embodiments that line up with them, the embodiments can
     be covered by the claims collectively. Id. That does not mean that the only disclosed
24   embodiment can be excluded from all the claims, as Nikon seeks to do here.
     10
         This is not to say that the patent uses the terms synonymously. It uses “turned on/off”
25   to cover two cases: those where the system ensures that the transistor is on/off (1) by
     transitioning and (2) without transitioning. “Keep on/off” is used only for the latter case.
26   11
         This reasoning applies equally to Defendants’ identical arguments under claims 2 and 4.
27
     12
         “[C]laim element 1(f) requires ‘turning off the reset transistor and then turning on the
     second transfer transistor with said reset transistor remaining off.’” (Opp. at 10.)
28   13
         Defendants’ final argument is plain legal error. They argue that “Figure 5 … was not
     included in the claims” because it shows a step in addition to those recited in the claim.

                                         7
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 1                 Plaintiffs’ Summary Judgment Motion Should Be Granted.
 2          Summary judgment should be granted. Defendants do not dispute that the
 3   Accused Cameras practice steps 1(c)-1(f) under Plaintiffs’ construction of “turning
 4   on/off,” regardless of how the dispute over overlapping steps is resolved. (Opp. 14-16.)
 5                 Defendants’ Untimely Cross-Motion Should Be Denied.
 6          Even under Defendants’ construction of “turning on/off,” their untimely cross-
 7   motion for partial summary judgment of noninfringement should be denied. First,
 8   Defendants’ motion requires a further construction that the claimed steps cannot overlap.
 9   (Opp. at 13-14.) As explained in opposition to Defendants’ summary judgment motions.
10   (D.I. 179-2 at 7-9), claim steps may overlap absent language that “unequivocal[ly]
11   preclu[des]” it. Xerox Corp. v. Google Inc., 801 F. Supp. 2d 293, 303 (D. Del. 2011). Here,
12   on the contrary, the specification (FIG.5) affirmatively shows that some steps do overlap.
13   Defendants concede this. (Opp. at 13-14.) Defendants’ argument that FIG. 5 has no
14   relation to the claims (id. at 14) is wrong for the reasons discussed above.
15          Second, even under both of Defendants’ constructions, genuine issues of material
16   fact would remain as to whether the cameras satisfy the claims under the doctrine of
17   equivalents. “Infringement under the doctrine of equivalents is a question of fact ….”
18   Intendis GmbH v. Glenmark Pharms., Inc., 822 F. 3d 1355, 1360-61 (Fed. Cir. 2016). Here,
19   Plaintiffs’ expert has explained that “transitioning the transistors to an ‘on’ or ‘off’ state
20   constitutes an insubstantial difference to ensuring that the specified transistor is on or
21   off.” (D.I. 149-14 at ¶¶ 329-31.) While Defendants provide conclusory assertions to the
22   contrary (Opp. at 15-16), this factual dispute cannot be resolved on summary judgment.
23          Defendants’ final perfunctory legal arguments also fail. Their argument that FIG.
24   5 is an unclaimed embodiment that cannot be captured by equivalents (Opp. at 16) fails
25   because FIG. 5 is reflected in the claims. And their argument that Plaintiffs disclaimed
26   non-overlap during prosecution is factually and legally wrong. (See D.I. 179-2 at 8-9;
27

28   (Opp. at 12.) But recited “steps … may be supplemented by additional … steps and still
     fall within the scope of the claim.” Scanner Techs. Corp. v. ICOS Vision Sys. Corp., N.V., 365
     F.3d 1299, 1305 (Fed. Cir. 2004). Thus, FIG. 5 is within the scope of Claim 1.
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 1   Intellectual Ventures I v. T-Mobile USA, 2018 WL 4201163, at *4-5 (Fed. Cir. Sept. 4, 2018).)
 2       PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION
     THAT GUIDASH ’900 IS NOT PRIOR ART TO THE KWON PATENTS
 3
            Plaintiffs showed that Guidash ’900 is not prior art to the Kwon patents because it
 4
     was filed after the first U.S. application to which they receive priority. (Br. 15-16.) Plaintiffs
 5
     also showed that Defendants had not met their burden to show that Guidash ’900 could
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     receive priority to an earlier provisional application because they had failed “to compare
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     the claims of [Guidash ’900] to the disclosure in the [] provisional application.” Dynamic
 8
     Drinkware, LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1381 (Fed. Cir. 2015).
 9
            Recognizing the fatal defect in their position, Defendants have submitted a Dynamic
10
     Drinkware analysis that is not only untimely, but
11
     too conclusory to meet Defendants’ burden.
12
     Specifically, it contains nothing but a 2-column table (excerpt above) that lacks any analysis
13
     to support the bald assertion that the provisional supports Guidash ’900’s claim. It does
14
     not analyze any claim limitation or identify any specific place where the provisional
15
     discloses one. Expert analysis is typically necessary to support a jury finding in “patent
16
     cases [like this] involving complex technology.” Centricut v. Esab Group., 390 F.3d 1361,
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     1369 (Fed. Cir. 2004). Such conclusory expert testimony—that all of “claim 1” is present
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     in “Figs. 1, 4 and corresponding description”—is tantamount to no testimony at all.
19
            Moreover, as Defendants’ expert report shows, their attempt to invalidate the
20
     Kwon patents relies on disclosures in Guidash ’900 (e.g., such as FIGs. 12-13) that do not
21
     appear in the provisional and so cannot receive its priority date even if Guidash ’900’s
22
     claims were supported. E.g., Mukherji Decl., Ex. 41 at App’x. L-3 (claims 1ab, 7ac), M-3
23
     (1a, 7ab), N-3 (1abc, 9ab, 17a, 24a, 30e). Lastly, even if Guidash ’900 could somehow reach
24
     back to its provisional, it still is not prior art. Plaintiffs showed the Kwon patents receive
25
     priority from an earlier-filed Korean application.14 Id. at Ex. 42, at ¶¶ 20, 93; App’x A.
26

27   14
       Defendants incorrectly argue that “it is Plaintiffs’ burden to demonstrate that the claims
28   of the ’017 and ’574 patents are entitled to earlier priority of the parent applications,” citing
     Research Corp. Tech. v. Microsoft Corp., 627 F.3d 859, 871 (Fed. Cir. 2010). However, unlike

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 1       PLAINTIFFS ARE ENTITLED TO SUMMARY ADJUDICATION
     THAT THE YOW THESIS IS NOT PRIOR ART TO THE ’163 PATENT
 2
            To be a printed publication, a “reference must have been sufficiently accessible to
 3
     the public interested in the art …” In re Klopfenstein, 380 F.3d 1345, 1348 (Fed. Cir. 2004).
 4
     Defendants’ evidence does not show that the Yow thesis was accessible to the interested
 5
     public, and the cases they cite highlight this lack of evidence. For example, in In re Hall,
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     781 F.2d 897, 899 (Fed. Cir. 1986), the court relied on an affidavit from a library employee
 7
     describing the library’s practices, including the “general practice for indexing, cataloging,
 8
     and shelving theses.” The affiant used this data to estimate the time it took to make the
 9
     dissertation available to the interested public. Id. In Klopfenstein, the reference was
10
     “prominently displayed for approximately three cumulative days” at two conferences and
11
     was “shown to a wide variety of viewers, a large subsection of whom possessed ordinary
12
     skill in the art.” 380 F.3d at 1350. In IBM v. Priceline Group Inc., 271 F. Supp. 3d 667, 675
13
     (D. Del. 2017), the prior art thesis was submitted to the library, received by the library,
14
     cataloged and searchable, and physically shelved before the critical date.
15
            Here, Defendants have adduced no evidence of the general practices of the
16
     Cambridge University Library and no evidence that the Yow thesis was ever displayed to
17
     the public. Even accepting, arguendo, that the Yow thesis was in the library’s possession in
18
     1998, there is no evidence that anyone interested in the thesis could have located and
19
     accessed it at that time. Cf. In re Bayer, 568 F.2d 1357, 1361 (C.C.P.A. 1978) (“[S]ince
20
     appellant’s thesis could have been located in the university library only by one having been
21
     informed of its existence by the faculty committee, and not by means of the customary
22
     research aids available in the library, the probability of public knowledge of the contents
23
     of the [thesis], was virtually nil.” (internal quotations omitted)). Thus, Defendants have
24
     not met their burden to show that the Yow thesis is prior art to the ’163 patent.
25

26

27   Research Corp., in which the Court determined whether a later-filed continuation of a
     continuation-in-part was entitled to an earlier priority date, the ’017 and ’574 patents are
28   both continuations of the ’312 patent and thus presumptively entitled to the parent priority
     date. z4 Techs., Inc. v. Microsoft Corp., 507 F.3d 1340, 1344 (Fed. Cir. 2007). Thus, Research
     Corp. does not apply here.
                                                     10
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 1                               CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on September 10, 2018, to all counsel of record
 4   who are deemed to have consented to electronic service via the Court’s CM/D.I. system
 5   per Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7

 8                                           /s/ Proshanto Mukherji
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              PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY ADJUDICATION
